              Case 4:14-cv-04480-YGR Document 296 Filed 05/20/19 Page 1 of 3



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13                            IN THE UNITED STATES DISTRICT COURT
14                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
15   __________________________________________
                                                )
16   TWITTER, INC.,                             ) Case No. 14-cv-4480-YGR
                                                )
17         Plaintiff,                           ) PARTIALLY UNOPPOSED
18                                              ) ADMINISTRATIVE MOTION
                        v.                      ) FOR ONE-DAY EXTENSION
19                                             )  OF TIME AND FOR AN
     JEFFERSON B. SESSIONS, III, United States )  ENLARGEMENT OF THE
20
           Attorney General, et al.,           )  PAGE LIMITATION FOR
21                                             )  DEFENDANTS’ REPLY
           Defendants.                          )
22   __________________________________________)  No hearing scheduled
23
24           Pursuant to Local Rules 6-3 and 7-11, Defendants respectfully request that the Court
25   grant Defendants a brief extension of one day, until May 22, 2019, to submit their reply in
26   support of their Request that the Court Discharge the Order to Show Cause and Deny Plaintiff’s
27   Request for Access to the Classified Steinbach Declaration, or in the Alternative, Motion to
28

     Twitter, Inc. v. Sessions, et al., Case No. 14-cv-4480-YGR                               1
     Partially Unopposed Administrative Motion for One-Day Extension of Time
     and for an Enlargement of the Page Limitation for Defendants’ Reply
              Case 4:14-cv-04480-YGR Document 296 Filed 05/20/19 Page 2 of 3




 1   Dismiss, ECF No. 281 (“Defendants’ Motion”). Plaintiff does not oppose the requested one-day
 2   extension.
 3           Additionally, Defendants respectfully request that the Court enlarge the page limitation
 4   for their reply by 5 pages. Plaintiff takes no position as to the requested enlargement.
 5           In support of their requests, Defendants aver:
 6           1.      The reply in support of Defendants’ motion is currently due to be submitted by
 7   May 21, 2019. See ECF No. 288 at 2.
 8           2.      Undersigned counsel was working to prepare Defendants’ reply on May 19, 2019,
 9   when technical systems issues arose that made completion of work on May 19, 2019 impossible,
10   notwithstanding counsel’s numerous attempts to continue. In particular, difficulties began to
11   arise in saving counsel’s work, and, ultimately, it became impossible to open at all Microsoft
12   Word, the word-processing program that counsel had been using.
13           3.      In light of the technical issues that impeded work on May 19, 2019, as well as the

14   necessity for undersigned counsel to work offsite for much of May 20, 2019 to complete a

15   significant submission in another case in which undersigned counsel is the lead attorney,

16   Defendants seek an extension of one day, until May 22, 2019, to complete the preparation of

17   their reply.

18           4.      Plaintiff’s counsel indicated that Plaintiff does not oppose this brief extension.

19           5.      Separately, Defendants also respectfully request that the page limitation for their

20   reply be expanded from 15 pages, see Local Rule 7-3(c), to 20 pages.

21           6.      While the 15-page reply provided for by Local Rule 7-3(c) contemplates that such

22   a reply will respond to a 25-page opposition, see Local Rule 7-3(a), Defendants’ reply will need

23   to respond not only to issues raised in Plaintiff’s 21-page Opposition to Defendants’ Motion, see

24   ECF No. 292, but to those in the 16-page Brief of Amici Curiae, ECF No. 294-1.

25           7.      Especially given the importance of the issues currently before the Court,

26   Defendants seek this enlargement of the page limitation to permit them adequate space to address

27   the numerous arguments raised by Plaintiff and Amici.

28

     Twitter, Inc. v. Sessions, et al., Case No. 14-cv-4480-YGR                                   2
     Partially Unopposed Administrative Motion for One-Day Extension of Time
     and for an Enlargement of the Page Limitation for Defendants’ Reply
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 1           For the foregoing reasons, Defendants respectfully request that the Court grant this
 2   administrative motion.
 3
     Dated: May 20, 2019                               Respectfully submitted,
 4
 5                                                     JOSEPH H. HUNT
                                                       Assistant Attorney General
 6
 7                                                     DAVID L. ANDERSON
                                                       United States Attorney
 8
 9                                                     ANTHONY J. COPPOLINO
                                                       Deputy Branch Director
10
                                                              /s/ Julia A. Heiman
11                                                     JULIA A. HEIMAN, Bar No. 241415
12                                                     Senior Counsel
                                                       CHRISTOPHER HEALY
13                                                     Trial Attorney
                                                       U.S. Department of Justice
14                                                     Civil Division, Federal Programs Branch
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16                                                     julia.heiman@usdoj.gov
17                                                     Attorneys for Defendants
18
19
             I declare under penalty of perjury under the laws of the United States of America that the
20
     foregoing is true and correct.
21
22           Dated: May 20, 2019                                 /s/ Julia A. Heiman   ___
                                                               JULIA A. HEIMAN, Bar No. 241415
23                                                             Senior Counsel
24
25
26
27
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     Twitter, Inc. v. Sessions, et al., Case No. 14-cv-4480-YGR                                  3
     Partially Unopposed Administrative Motion for One-Day Extension of Time
     and for an Enlargement of the Page Limitation for Defendants’ Reply
              Case 4:14-cv-04480-YGR Document 296-1 Filed 05/20/19 Page 1 of 2



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14                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
15   __________________________________________
                                                )
16   TWITTER, INC.,                             ) Case No. 14-cv-4480-YGR
                                                )
17         Plaintiff,                           )
18                                              )
                        v.                      )
19                                              )
     JEFFERSON B. SESSIONS, III, United States )
20
           Attorney General, et al.,            )
21                                              )
           Defendants.                          ) [PROPOSED] ORDER
22   __________________________________________)
23
24
             The Court, having considered the Defendants’ Partially Unopposed Administrative
25
     Motion for a One-Day Extension of Time and for an Enlargement of the Page Limitation for
26
27   Defendants’ Reply, hereby ORDERS that the Defendants’ Motion is GRANTED. Defendants

28   shall submit their reply in support of Defendants’ Request that the Court Discharge the Order


     Twitter, Inc. v. Sessions, et al., Case No. 14-cv-4480-YGR                              1
     [Proposed] Order
              Case 4:14-cv-04480-YGR Document 296-1 Filed 05/20/19 Page 2 of 2




 1   to Show Cause and Deny Plaintiff’s Request for Access to the Classified Steinbach
 2   Declaration, or in the Alternative, Motion to Dismiss, ECF No. 281, by May 22, 2019, and the
 3   page limitation for Defendants’ reply is hereby extended to 20 pages.
 4
 5           IT IS SO ORDERED, this _________ day of _____________, 2019.
 6
 7
 8
             Dated: ____________________                  _______________________________________
 9                                                        HON. YVONNE GONZALEZ ROGERS
                                                          UNITED STATES DISTRICT JUDGE
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     Twitter, Inc. v. Sessions, et al., Case No. 14-cv-4480-YGR                              2
     [Proposed] Order
